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 6                                 UNITED STATES DISTRICT COURT
                                     WESTERN OF WASHINGTON
 7
                                            AT SEATTLE
 8
      QIXIA ENSBERG,                                     C20-1717-JCC
 9
                             Plaintiff,                  MINUTE ORDER
10

11            vs.

12    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY,
13
                             Defendant.
14
            The following Minute Order is made by direction of the Court, the Honorable John C.
15
     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulated motion to dismiss (Dkt. No.
17
     12). The parties seek an order dismissing all claims against the remaining defendants. (Id. at 2.)
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     Federal Rule of Civil Procedure 41(a)(1)(A)(ii) provides that a “plaintiff may dismiss an action
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     without a court order by filing . . . a stipulation of dismissal signed by all parties who have
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     appeared.” The stipulated motion has been signed by all parties. (Dkt. No. 12 at 2.) Thus, under
21
     Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the stipulation is self-executing. Here, the
22
     parties nevertheless request that the Court enter a proposed order filed with their stipulation. (See
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     Dkt. No. 12 at 2.)
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            Accordingly, all claims against the defendant in this case are DISMISSED with prejudice
25
     and without costs to any party, with each party to bear its own attorney fees and other litigation



      STIPULATED PROTECTIVE ORDER                       -1-
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     expenses. The Clerk is DIRECTED to close this case.
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            DATED this 27th day of October 2021.
 3
                                                           Ravi Subramanian
 4                                                         Clerk of Court

 5                                                         s/Sandra Rawski
                                                           Deputy Clerk
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      STIPULATED PROTECTIVE ORDER                  -2-
